            Case 2:93-cr-00081-RBS Document 133 Filed 10/31/19 Page 1 of 1 PageID# 425
AO 247(Rev. 11/1 1) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)         Page 1 of2(Page 2 Not for Public Disclosure)

                                     United States District Court
                                                                       for the

                                                          Eastern District of Virginia

                     United States of America
                                    V.

                                                                            ^ Case No: 2:93cr81
                           Tadd E. Vassell                                 )USM No: 27684-083
Date of Original Judgment:         May 16, 1997                            )
Date of Previous Amended Judgment: N/A                                     ^ Adam M. Carroll
(Use Date ofLast Amended Judgment ifAny)                                   )Defendant's Attorney

                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                          PURSUANT TO 18 U.S.C.§ 3582(c)(2)
         Upon motion of X the defendant CI the Director of the Bureau of Prisons O the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § IB 1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
             DENIED.          X GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
the lastjudgment issued) of                     Life                       is reduced to                               360 months
                                            (Complete Parts I and fl ofPage 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                   May 16, 1997                 shall remain in effect.
IT IS SO ORDERED.                                                                       —                   ,bL
                                                                                                              ^
                                                                                        Rebecca Beach Smith

Order Date:         October 30.2019                                                     Settlor United States District Judge
                                                                                                         Judge's signature


Effective Date:                                                                         Rebecca Beach Smith, District Judge
                    (ifdifferentfrom order date)                                                       Printed name and title
